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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

LENNOX E. MONTROSE

v. Civil No. - JFM-14-2866

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COMMISSIONER OF INTERNAL REVENUE*
AND ]NTERNAL REVENUE SERVICE *

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MEMORANDUM
Plaintiff has filed this action, seeking to have certain tax refunds paid to him and to
enjoin the Internal Revenue Service from attempting to collect an additional amount that the IRS
has demanded from him. TheUnited States has filed a motion for summary judgment Plaintiff,
who is appearing pro se, has also filed a motion for summary judgment The motion filed by the
United States will be granted, and the motion filed by plaintiff will be denied.

l As to the refund claims, the record establishes that for the years 2007 to 2009 plaintiff did
not pay any money to the IRS and therefore cannot be entitled to a refund for those years. As to
the tax years 2010 and 2011, plaintiff is not entitled to any refund because the IRS has applied
- the claim refunds to other tax liabilities owed by plaintiff

Plaintiff is barred from seeking an injunction by the Anti-Injunction Act. 26 U.S.C.
§7421. Plaintifi”s sole remaining remedy as to these tax years is to pay the tax liabilities at issue
and then to file a tax refund suit.

A separate order effecting the rulings made in this memorandum is being entered

 

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